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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

------------------------------x
                              :
JANE DOE                      :        Civil No. 3:15CV01123(AVC)
                              :
v.                            :
                              :
HICKS, et al.                 :        September 21, 2016
                              :
------------------------------x

         RULING ON AMENDED MOTION FOR SANCTIONS [Doc. #95]

     Pending before the Court is the motion of plaintiff Jane Doe

(“plaintiff”) for sanctions against defendant Sahil, Inc.

(“defendant Sahil”). [Doc. #95]. Defendant Sahil filed an untimely

response to the Amended Motion for Sanctions, which the Court has

ordered stricken. [Doc. #102]. As noted in the Court’s Order

striking defendant Sahil’s response to the Amended Motion for

Sanctions, the Court will consider defendant Sahil’s previously

filed memoranda in opposition to plaintiff’s original motion for

sanctions,1 which are docket entries 76 and 88. See Doc. #102 at 5.

For the reasons set forth herein, the Court GRANTS, in part, and

DENIES, in part, plaintiff’s Amended Motion for Sanctions.




1 The original motion is docket entry 71. Judge Alfred V. Covello
entered an order finding that motion moot, in light of plaintiff’s
filing of the Amended Motion for Sanctions. [Doc. #127].
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I.   Background

     Plaintiff brings this action to redress injuries and other

harm she suffered after an alleged sexual assault at the Quality

Inn in Windsor Locks, Connecticut. See generally, Doc. #1,

Complaint.2 Plaintiff alleges that at all relevant times, defendant

Sahil owned and operated the Quality Inn as a franchisee of Choice

Hotels. See id. at ¶16. Also named as a defendant is Angel Hicks

(“defendant Hicks”), who was working as the Quality Inn’s sole

desk clerk on the night of the alleged assault. See id. at ¶16.

     Defendants Sahil and Hicks (hereinafter sometimes

collectively referred to as the “defendants”) served their jointly

prepared Rule 26(a)(1)(A) initial disclosures on plaintiff’s

counsel on October 14, 2015 (hereinafter the “initial

disclosures”). [Doc. #95-3]. Defendants’ initial disclosures list

only two individuals as “likely to have discoverable information,”

besides those identified in plaintiff’s initial disclosures. Those




2
 Following a referral to the undersigned for settlement, Judge
Covello also referred this matter to the undersigned for case
management. [Doc. #47]. Pursuant to these referrals, the
undersigned held numerous in-person and telephonic conferences to
ensure that this matter progressed in an expeditious manner, in
light of plaintiff’s advanced age and the nature of the
allegations. The parties have now filed their cross motions for
summary judgment, which are not referred to the undersigned.




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two individuals are defendant Hicks and Jessica Dimeo, an employee

of defendant Sahil. See Doc. #95-3 at 2. Plaintiff represents that

these disclosures have never been supplemented. See Doc. #95-1 at

5.

     Soon after the initial disclosures were provided, the parties

began written discovery. On November 24, 2015, plaintiff received

defendant Sahil’s responses to its first set of written discovery

requests. See Doc. #95-4, Sahil’s Responses to Plaintiff’s First

Set of Interrogatories; Doc. #95-5, Sahil’s Responses to

Plaintiff’s First Set of Requests for Production of Documents.

Following the receipt of what plaintiff believed to be complete

responses to her written discovery requests, plaintiff’s counsel

traveled to Connecticut for the purpose of taking and defending a

total of eight depositions between December 15, 2015, and December

22, 2015.3




3 Judge Covello initially ordered that all fact witnesses be
deposed by December 15, 2015. See Doc. #32. Thereafter, to
accommodate a settlement conference scheduled for December 7, 2015,
the undersigned extended the deadline by which to depose all fact
witnesses to December 22, 2015. See Doc. #39. Although the
December 7, 2015, settlement conference was eventually canceled,
the Court held an in-person conference on December 10, 2015. [Doc.
#49]. During that conference, the Court extended the deadline for
the completion of fact witness depositions to January 15, 2016,
but only as to the deposition of plaintiff’s alleged assailant
(who is incarcerated) and Choice Hotel’s Rule 30(b)(6) designee.
See Doc. ##64, 65.


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     Plaintiff’s counsel deposed defendant Hicks on December 19,

2015. See Doc. #95-6, December 19, 2015, Deposition of Angel Hicks

(“original Hicks deposition”). During the examination of Hicks by

defense counsel, a colloquy occurred which suggested that defense

counsel had seen and reviewed Hicks’ employment application. See

Doc. #95-6 at 108:5-109:25. However, defendant Sahil had asserted

in its response to requests for production dated October 22, 2015,

that it had no “documents concerning the employment of Defendant

Angel Hicks[.]” Doc. #95-5 at 2, Response to Request No. 2.

     At approximately 10:50PM on December 20, 20154 –- the day

after the original Hicks deposition -- defense counsel served

amended responses to plaintiff’s written discovery requests. See

Doc. #95-8, Sahil’s Amended Responses to Plaintiff’s First Set of

Interrogatories and Amended Responses to Plaintiff’s First Set of

Requests for Production (hereinafter the “amended discovery

responses”). Attached to these amended discovery responses were

documents that appear to constitute a personnel file for defendant

Hicks, including application materials. See Doc. #95-1 at 8; Doc.




4 The amended discovery responses are dated December 21, 2015, and
indicate that they were filed on the Court’s CM/ECF system on that
date. See Doc. #95-8 at 7, 13. It appears, however, that the
materials were in fact emailed to plaintiff’s counsel on December
20, 2015, and were not filed on the docket. Discovery materials
are not normally filed on the docket, under Rule 5(f) of the Local
Rules of Civil Procedure.


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#95-7. These materials are indisputably responsive to the

plaintiff’s requests.

     In these amended discovery responses defendant Sahil also

identified, for the first time, Eric Moody (“Moody”), a former

employee of Sahil, as an individual who supervised defendant Hicks

and participated in the decision to hire her. See Doc. #95-7 at 2,

Interrogatory No. 2. Mr. Moody was identified in defendant Sahil’s

initial interrogatory responses as an individual who participated

in managing the Quality Inn. See Doc. #95-4 at Interrogatory No.

3. However, because he was not listed in Sahil’s initial

disclosures, and the information regarding his direct involvement

with defendant Hicks had not previously been provided, plaintiff

had not arranged to depose Mr. Moody. See Doc. #95-1 at 9.5

     The deposition of Sahil’s 30(b)(6) designee, Mr. Patel, was

scheduled to occur on December 21, 2015, at 9:00AM, some ten hours

after the amended discovery responses were emailed to counsel. See

Doc. #95-1 at 9-10. Because plaintiff’s counsel did not have an




5 Plaintiff further represents that for the first time in its
amended discovery responses, defendant Sahil identified its
30(b)(6) witness Shailesh Patel (“Patel”) as having supervised
Hicks and participated in the managing and operation of the
Quality Inn. See Doc. #95-1 at 9; see also Doc. #95-8 at
Interrogatory Nos. 2, 3. Mr. Patel was not identified in
defendants’ initial disclosures as an individual likely to have
discoverable information.


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opportunity to review the amended discovery responses before

Sahil’s 30(b)(6) deposition, plaintiff’s counsel was “forced to

question Patel about those documents without any preparation.”

Doc. #95-1 at 10. During the December 21, 2015, deposition of

Sahil’s 30(b)(6) designee, Mr. Patel confirmed that Mr. Moody:

supervised defendant Hicks; provided her with training concerning

guest security; made the decision to hire her; and was responsible

for monitoring crime in and around the Quality Inn. See generally

Doc. #95-9, December 21, 2015, R. 30(b)(6) Deposition of Sahil,

Inc.

       By the conclusion of the 30(b)(6) deposition it was clear to

plaintiff that Mr. Moody was an important witness. In light of the

December 22, 2015, fact deposition deadline, however, it was too

late to notice the deposition of Mr. Moody. See Doc. #95-1 at 10.

       Accordingly, plaintiff filed an Emergency Motion for

Sanctions, which sought both Rule 37 sanctions and substantive

relief relating to Sahil’s production of documents and to the

taking of additional and/or continued fact witness depositions.

[Doc. #71-1 at 16-17]. The undersigned held a telephonic

conference on January 6, 2016, to address the issues raised in the

Emergency Motion for Sanctions. [Doc. #72]. During that

conference, the Court granted the Emergency Motion for Sanctions

to the extent plaintiff requested certain substantive relief.



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Specifically, the Court ordered: (1) that plaintiff would be

permitted to take the deposition of Mr. Moody, and supplemental

depositions of both Hicks and Sahil’s 30(b)(6) witness, on or

before January 29, 2016; and (2) that by January 13, 2016,

defendants Sahil and Hicks provide plaintiff with a written

attestation stating under oath “the nature and scope of the search

conducted ... for documents responsive to plaintiff’s written

discovery requests [and] that all responsive non-privileged

documents have been produced[.]” Doc. #77 at 2-3. The Court took

under advisement plaintiff’s request for Rule 37 sanctions. See

id. at 2.

     In accordance with the Court’s order, plaintiff took the

supplemental depositions of Hicks and of Sahil’s 30(b)(6) witness,

Mr. Patel, on January 26, 2016. Plaintiff took the deposition of

Mr. Moody on January 25, 2016. Plaintiff states that Mr. Patel’s

testimony at Sahil’s 30(b)(6) supplemental deposition “exposed the

egregiousness of Sahil’s discovery abuses[,]” including:

       (1)    That at the time Patel signed a January 13,
              2016, affidavit attesting to Sahil’s discovery
              compliance, “he understood that he had an
              obligation to search his emails for documents
              responsive to Doe’s discovery requests, but he
              had not performed such a search[;]”

       (2)    That Mr. Patel permitted Sahil’s counsel to
              serve its initial disclosures “knowing they
              were incorrect in that they did not identify




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              Moody or Patel as persons           who   might   have
              discoverable information[;]”

        (3)   That Mr. Patel permitted Sahil’s counsel to
              serve Sahil’s responses to plaintiff’s First
              Set of Interrogatories knowing that those
              responses omitted “critical information[;]” and

        (4)   That Mr. Patel “was aware of the existence of
              Hicks’s personnel file in October 2015 and gave
              a copy to Sahil’s counsel on December 17,
              2015[.]”

Doc. #95-1 at 11 (sic). As a result of these alleged abuses,

plaintiff contends she “has incurred significant costs and

attorneys’ fees in seeking redress for -- and conducting three

fact witness depositions necessitated by -- Sahil’s failure to

timely disclose” critical information. Doc. #95-1 at 15.

     Defendant Sahil responds that there have been no discovery

abuses and that plaintiff inappropriately filed the initial motion

for sanctions on an emergency basis without conferring in an

effort to resolve the disputes without court intervention. See

Doc. #88 at 1-2. Defendant Sahil represents that counsel first

received notice of the alleged “discovery abuses” in a December

30, 2015, email correspondence from plaintiff’s counsel. See id.

at 1-2, 11-14. Defendant Sahil further represents that it

“disclosed additional information” pursuant to its continuing duty

of disclosure, and that it was “agreeable to additional discovery,

made a proposal for discovery compliance to resolve plaintiff




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counsel’s concerns, and made counsel aware [that defense counsel

was away through the New Year].” Doc. #88 at 2. Defendant Sahil

also represents that no response to this proposal was received,

and that plaintiff filed the Emergency Motion for Sanctions

without conferring with him. See id. at 2. The Court will address

defendant Sahil’s arguments with respect to each specific alleged

discovery abuse in the discussion below.

II.   Legal Standard

      Rule 26(a) governs the parties’ mandatory initial

disclosures. Pertinent to the discussion below, Rule

26(a)(1)(A)(i) requires disclosure of:

      the name and, if known, the address and telephone number
      of each individual likely to have discoverable
      information -- along with the subjects of that
      information -- that the disclosing party may use to
      support its claims or defenses, unless the use would be
      solely for impeachment[.]

Fed. R. Civ. P. 26(a)(1)(A)(i). This information is to be provided

“without awaiting a discovery request[.]” Fed. R. Civ. P.

26(a)(1)(A).

      Rule 26(e) requires supplementation of prior disclosures or

responses to discovery:

      A party who has made a disclosure under Rule 26(a) -- or
      who has responded to an interrogatory, request for
      production, or request for admission -- must supplement
      or correct its disclosure or response: (A) in a timely
      manner if the party learns that in some material respect
      the disclosure or response is incomplete or incorrect,



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     and if the additional or corrective information has not
     otherwise been made known to the other parties during
     the discovery process or in writing[.]

Fed. R. Civ. P. 26(e)(1)(A).

     Rule 37(c)(1) describes the available remedies when a party

fails to comply with these Rules:

     If a party fails to provide information ... as required by
     Rule 26(a) or (e), the party is not allowed to use that
     information ... to supply evidence on a motion, at a
     hearing, or at a trial, unless the failure was
     substantially justified or is harmless. In addition to or
     instead of this sanction, the court, on motion and after
     giving an opportunity to be heard: ... may impose other
     appropriate sanctions, including any of the orders listed
     in Rule 37(b)(2)(A)(i)-(vi).

Fed. R. Civ. P. 37(c)(1)(C). “The party requesting sanctions under

Rule 37 bears the burden of showing that the opposing party failed

to timely disclose [the] information” sought. Vineyard Vines, LLC

v. Macbeth Collection, LLC, No. 3:14CV1096(JCH), 2015 WL 2179775,

at *1 (D. Conn. May 8, 2015); see also Lodge v. United Homes, LLC,

787 F. Supp. 2d 247, 258 (E.D.N.Y. 2011). “To meet this burden the

party must establish (1) that the party having control over the

evidence had an obligation to timely produce it; (2) that the

party that failed to timely produce the evidence had a culpable

state of mind; and (3) that the missing evidence is relevant to

the party’s claim or defense such that a reasonable trier of fact

could find it would support that claim or defense.” In re Sept.

11th Liab. Ins. Coverage Cases, 243 F.R.D. 114, 125 (S.D.N.Y.



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2007) (citing Residential Funding Corp. v. DeGeorge Fin. Corp.,

306 F.3d 99, 107 (2d Cir. 2007)). “As to the required level of

culpability warranting sanctions under Fed. R. Civ. P. 37(c), the

Second Circuit has stated that a ‘case-by-case approach to the

failure to produce relevant evidence’ is appropriate because

‘[s]uch failures occur along a continuum of fault -- ranging from

innocence through the degrees of negligence to intentionality.’”

Fossil Indus., Inc. v. Onyx Specialty Papers, Inc., 302 F.R.D.

288, 293 (E.D.N.Y. 2014) (quoting Reilly v. Natwest Mkts. Grp.

Inc., 181 F.3d 253, 267 (2d Cir. 1999)).

     “An omission or delay in disclosure is harmless where there

is ‘an absence of prejudice’ to the offended party.” Lujan v.

Cabana Mgmt., Inc., 284 F.R.D. 50, 68 (E.D.N.Y. 2012) (quoting

Ritchie Risk-Linked Strategies Trading (Ireland), Ltd. v. Coventry

First LLC, 280 F.R.D. 147, 159 (S.D.N.Y. 2012)).

     Sanctions under Rule 37 are designed to effectuate three

goals: “First, they ensure that a party will not benefit from its

own failure to comply. Second, they are specific deterrents and

seek to obtain compliance with the particular order issued. Third,

they are intended to serve a general deterrent effect on the case

at hand and on other litigation, provided that the party against

whom they are imposed is in some sense at fault.” Update Art, Inc.

v. Modiin Pub., Ltd., 843 F.2d 67, 71 (2d Cir. 1988). “The



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imposition of sanctions under Rule 37(c)(1) is a matter within the

trial court’s discretion.” Johnson Elec. N. Am. Inc. v. Mabuchi

Motor Am. Corp., 77 F. Supp. 2d 446, 458 (S.D.N.Y. 1999) (citation

omitted). Accordingly, “[c]ourts enjoy broad discretion in

deciding whether and how to fashion a sanction pursuant to Rule

37.” Lujan, 284 F.R.D. at 68 (citation omitted).

III. Discussion

       Plaintiff alleges a number of discovery abuses by defendant

Sahil, but specifically seeks the imposition of sanctions against

defendant Sahil only for two alleged violations of Rule 26: (1)

the failure to identify Mr. Moody in the initial disclosures as an

individual with discoverable information; and (2) the failure to

timely disclose Hicks’ personnel file. See Doc. #95-1 at 14. The

Court will apply the three elements identified by Residential

Funding Corp., 306 F.3d at 107, and other Second Circuit

precedents, in evaluating each of plaintiff’s claims.

       A. Initial Disclosures and Identification of Mr. Moody

       Plaintiff first contends that defendant Sahil had an

obligation to identify Mr. Moody in the initial disclosures, or at

the very least, to timely supplement those disclosures, in light

of the information disclosed in Mr. Patel’s deposition testimony.6




6   Mr. Patel is “employed by Sahil, Inc., and [is] the Treasurer and


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See Doc. #95-1 at 14. Plaintiff submits that Mr. Patel knew of Mr.

Moody’s potential importance to this case in October 2015, but

failed to disclose that information until it was too late for

plaintiff to depose him prior to the December 22, 2015, fact

witness deposition deadline. See Doc. #95-1 at 14. Defendant Sahil

responds that Mr. Moody “is a former employee that was not present

at the premises at the time of the incident. The defense was not

aware of him being a critical witness to this lawsuit, and timely

disclosed information about him that came up in response to

discovery requests and questioning.” Doc. #88 at 5. Defendant

Sahil further represents that when, after the completion of the

defense depositions, plaintiff’s counsel insisted on conducting

the deposition of Mr. Moody, defense counsel consented and offered

his assistance in both locating Mr. Moody, and securing his

cooperation to participate in a deposition. See id.

     The Court first considers whether Defendant Sahil had an

obligation to timely disclose the identity of Mr. Moody as an

individual with discoverable information. Defendant Sahil’s

amended discovery responses and the deposition testimony of

Sahil’s 30(b)(6) witness, Mr. Patel, each support a finding that




clerk of the corporation.” Doc. #88 at 15, Affidavit of Shailesh
D. Patel.


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Mr. Moody should have been identified in defendants’ initial

disclosures as an individual likely to have discoverable

information.

     Defendants served their initial disclosures, which did not

identify Mr. Moody, on October 14, 2015. [Doc. #95-3]. About two

months later, in its amended discovery responses, defendant Sahil

for the first time identified Mr. Moody as having both supervised

defendant Hicks and participated in the decision to hire her. See

Doc. #95-8 at Interrogatory Nos. 2 and 6. During Sahil’s initial

30(b)(6) deposition in December 2015, Mr. Patel testified that Mr.

Moody, as general manager of the Quality Inn, was instructed to

monitor any criminal activity that occurred in and around the

premises of the Quality Inn. See Doc. #95-9, December 21, 2015, R.

30(b)(6) Deposition of Sahil, Inc., at 22:13-23. He also testified

that Mr. Moody had the authority to hire defendant Hicks. See id.

at 29:17-20. During the supplemental deposition of Sahil’s

30(b)(6) designee, Mr. Patel further admitted knowing this

information at the time defendants served the initial disclosures:

     Q:    And at the time that [the initial disclosures were]
           filed in this case on 10/14, October 14, 2015, you
           knew that Moody as well as you would be persons who
           might have information, correct, concerning the
           hiring of Hicks and the facts related to this case;
           isn’t that true?

     ...




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     A:    Yes.

     Q:    But it’s not on there, is it?

     A:    No, it’s not.

     ...

     Q:    Did you see this document before it was filed?

     A:    Yes.

     ...

     Q:    So isn’t it true that you knowingly allowed this
           document [defendants’ initial disclosures] to be
           sent to counsel for Doe where you knew the
           information was wrong, because you knew Moody had
           managed the hotels, and as a matter of fact, he was
           managing the night the rape occurred; you knew
           that, isn’t that true?

     ...

     A:    Yes.

Doc. #95-10, January 26, 2016, Supplemental R. 30(b)(6) Deposition

of Sahil, Inc., at 115:5-25; 117:4-20.

     Rule 26 explicitly provides: “A party must make its initial

disclosures based on the information then reasonably available to

it. A party is not excused from making its disclosures because it

has not fully investigated the case.” Fed. R. Civ. P. 26(a)(1)(E).

The supplemental deposition testimony of Sahil’s 30(b)(6) designee

belies defendant Sahil’s representation that the “defense was not

aware of [Mr. Moody] being a critical witness to this lawsuit[.]”

Doc. #88 at 5. Indeed, Mr. Patel has admitted, under oath, that he



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was aware in October 2015 that Mr. Moody had discoverable

information. See Doc. #95-10, January 26, 2016, Supplemental R.

30(b)(6) Deposition of Sahil, Inc., at 115:5-15.

     Plaintiff’s complaint includes claims for negligent

supervision, failure to provide adequate security, and negligent

hiring. See Doc. #1, Complaint, at Counts IV, VI and VII. Mr.

Moody participated in the management and security of the Quality

Inn, and he was involved in the supervision and hiring of

defendant Hicks. Given these facts, there is no reasonable basis

on which the defense could contend that Mr. Moody was not likely

to have discoverable information; to the contrary, he would seem

to be one of only a handful of key witnesses. Accordingly, the

Court finds that defendant Sahil had an obligation to disclose Mr.

Moody in its Rule 26(a) initial disclosures as an individual

likely to have discoverable information.

     Having found that defendant Sahil failed to meet its

obligations under Rule 26(a) as to the disclosure of Mr. Moody,

the Court next considers whether defendant Sahil had a culpable

state of mind. The Eastern District of New York has

comprehensively discussed this element:

     The culpable state of mind element is satisfied by a
     showing that a party has breached a discovery obligation
     through bad faith or gross negligence or ordinary
     negligence. Failures to produce relevant evidence occur
     along a continuum of fault -- ranging from innocence



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     through the degrees of negligence to intentionality, and
     courts must therefore take a case-by-case approach in
     determining the level of culpability. In the discovery
     context, negligence is a failure to conform to the standard
     of what a party must do to meet its obligation to
     participate meaningfully and fairly in the discovery phase
     of a judicial proceeding. A party is negligent even if the
     failure results from a pure heart and an empty head.

Markey v. Lapolla Indus., Inc., No. 12CV4622(JS)(AKT), 2015 WL

5027522, at *17 (E.D.N.Y. Aug. 25, 2015) (internal citations and

quotation marks omitted), report and recommendation adopted, No.

12CV4622(JS)(AKT), 2016 WL 324968 (Jan. 26, 2016). There is

insufficient evidence before the Court to conclusively find that

defendant Sahil intentionally, or with bad faith, failed to

disclose Mr. Moody in its initial disclosures. However, the

failure to identify Mr. Moody does rise to the level of

negligence, as defined by the Markey court. See id. Defendant

Sahil contends that there has been “full cooperation in discovery

by the defense[.]” Doc. #88 at 10. That may be so. “The fact that

counsel may have engaged in discovery in good faith does not,

however, absolve its culpable conduct because the relevant state

of mind for sanctions under Rule 37(c) is ordinary negligence, not

intentional conduct.” Markey, 2015 WL 5027522, at *22 (citation

and internal quotation marks omitted). To the contrary, defense

counsel’s “purported ignorance [of Moody’s importance] only serves

to highlight [defendant Sahil’s] failure to perform its




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obligations with the necessary diligence required under Rule

26(g)(1)’s ‘reasonable inquiry’ requirement.” Markey, 2015 WL

5027522, at 23. Accordingly, the Court finds that the second

element supporting an award of Rule 37 sanctions has been

satisfied.

     Turning to the final element of relevance, “the standard of

proof depends on the level of culpability.” Id. at *17. “Where the

breach of discovery obligations was merely negligent, the term

‘relevant’ in the context of Rule 37 means something more than

sufficiently probative to satisfy Rule 401 of the Federal Rules of

Evidence. That is, the evidence must be such that a reasonable

trier of fact could find that it would support that claim or

defense.” Id. (internal citations and quotation marks omitted)

(footnote omitted). Here it is without dispute that Mr. Moody,

whom Mr. Patel admitted participated in the monitoring of security

and management of the Quality Inn, as well as the supervision and

hiring of defendant Hicks, was likely to have relevant testimony

as to at least three of plaintiff’s claims, and defendant Sahil’s

defense of those claims. Accordingly, the Court finds that the

third element of relevance has also been satisfied.

     Finding that plaintiff has met her burden to support the

imposition of Rule 37 sanctions, the Court now turns to whether

defendant Sahil’s failure to comply with the mandates of Rule



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26(a) was “substantially justified” or “harmless.” See Ritchie

Risk, 280 F.R.D. at 158-59 (“Even where there is violation of Rule

26(a) or (e), courts may not impose sanctions under Rule 37(c)(1)

where a party’s failure to comply was ‘substantially justified’ or

where the conduct was ‘harmless.’” (citing Fed. R. Civ. P.

37(c)(1))). Defendant Sahil bears the burden of proving that its

non-compliance was substantially justified or harmless. See id. at

159.

       “Substantial justification may be demonstrated where there is

justification to a degree that could satisfy a reasonable person

that parties could differ as to whether the party was required to

comply with the disclosure [requirement], or if there exists a

genuine dispute concerning compliance.” Ritchie Risk, 280 F.R.D.

at 159 (citation and internal quotation marks omitted). Defendant

Sahil has failed to show substantial justification. Defendant

Sahil contends, essentially, that non-disclosure of Mr. Moody was

justified because Mr. Moody “is a former employee that was not

present at the premises at the time of the incident.” Doc. #88 at

5. However, as noted above, this action includes claims relating

to negligent supervision, failure to provide adequate security,

and negligent hiring. The evidence related to these claims will

not be limited to the testimony of witnesses present at the time

of the incident. Had defendants conducted even the most cursory



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inquiry upon being served with the Complaint, they would have

identified the persons responsible for hiring and supervising

defendant Hicks, including Mr. Moody, as potentially having

discoverable information. The non-disclosure is, thus, not

substantially justified.

     Defendant Sahil has also failed to show that the non-

disclosure of this information was harmless. “Harmlessness means

an absence of prejudice to the [plaintiff].” Ritchie Risk, 280

F.R.D. at 159 (citation omitted). Defendant Sahil does not appear

to argue that the failure to disclose the information at issue did

not prejudice plaintiff. Although defendant Sahil consented to the

taking of Mr. Moody’s deposition, and indeed offered to assist

with locating him for the deposition, by the time plaintiff

realized the importance of Mr. Moody’s testimony, she was forced

not only to seek court intervention to extend the fact witness

deposition deadline, but also to schedule a second trip to

Connecticut for purposes of taking Mr. Moody’s deposition.

Additionally, the late disclosure of Mr. Moody likely impacted

discovery strategies formulated by plaintiff’s counsel, including,

for example, the order in which to depose witnesses. Accordingly,

the Court finds that defendant Sahil has not satisfied its burden

of demonstrating that the non-disclosure was substantially

justified or harmless.



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        Therefore, the Court finds that sanctions under Rule 37 are

warranted for defendant Sahil’s failure to identify Mr. Moody as

an individual with discoverable information in its initial

disclosures. The Court next turns to whether sanctions are also

warranted in light of the late disclosure of Hicks’ personnel

file.

        B. Late Disclosure of Hicks’ Personnel File

        As an additional basis for the award of sanctions, plaintiff

points to defendant Sahil’s failure to timely produce defendant

Hicks’ personnel file. See Doc. #95-1 at 14. The same analysis

applied above guides the Court’s evaluation of whether sanctions

are warranted for this alleged discovery abuse. See In re Sept.

11th, 243 F.R.D. at 125. That is, plaintiff bears the burden of

establishing: “(1) that the party having control over the evidence

had an obligation to timely produce it; (2) that the party that

failed to timely produce the evidence had a culpable state of

mind; and (3) that the missing evidence is relevant to the party’s

claim or defense such that a reasonable trier of fact could find

it would support that claim or defense.” Id. (citation omitted).

        The Court finds that defendant Sahil had an obligation to

timely produce the personnel file, and that it is relevant to

plaintiff’s claims. Plaintiff’s requests for production clearly

called for it. “Timely” production would have been made in the



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responses to the First Set of Requests for Production of Documents

or, at the very least, prior to Hicks’ deposition. Defendant

Sahil’s counsel contends that the personnel file “was identified”

during the course of his preparation for Sahil’s 30(b)(6)

deposition, and that defendant Sahil’s disclosure of it thereafter

was timely. See Doc. #88 at 2. Counsel asserts that “it did not

occur to [him] that there was any information that was needed for

questioning at the Hicks deposition[.]” Id. at 3. The difficulty

with this explanation is that defendants’ counsel did in fact

engage in questioning at the Hicks deposition based on the

material in the personnel file. See Doc. #95-6, Original Hicks

Deposition, at 108:5-109:25.

     The Court further finds that defendant Sahil was, at best,

negligent in failing to produce the personnel file earlier. The

fact that defense counsel did not come into possession of the

personnel file until just before Hicks’ original deposition is not

mitigating on this point; if anything, it may be an aggravating

factor. It is well-established that counsel has a duty to conduct

a “reasonable inquiry” in response to discovery requests, and must

certify that responses are “complete and correct as of the time”

they are made. Fed. R. Civ. P. 26(g)(1). Indeed, “Rule 26(g)

imposes on counsel an affirmative duty to engage in pretrial

discovery responsibly and is designed to curb discovery abuse by



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explicitly encouraging the imposition of sanctions.” Metro. Opera

Ass’n, Inc. v. Local 100, Hotel Employees & Rest. Employees Int’l

Union, 212 F.R.D. 178, 219 (S.D.N.Y. 2003) (internal citation and

quotation marks omitted). A personnel file is a basic, essential

item, of central importance in any case alleging negligent hiring

or improper employee conduct. It was, apparently, in the

possession of defendant Sahil all along. As such, “there is no

doubt that [defendant Sahil] had the legal and practical ability

to obtain” it at the outset of discovery. Raimey v. Wright Nat.

Flood Ins. Co., 76 F. Supp. 3d 452, 456 (E.D.N.Y. 2014).

     The remaining inquiry, therefore, is whether the delay in

producing defendant Hicks’ personnel file was harmless or

substantially justified. The Court cannot find the delay in

production substantially justified as no actual justification has

been proffered. Defendant Sahil argues, essentially, that the

delay was harmless because there was –- or should have been –- “an

absence of prejudice” to plaintiff. See Lujan, 284 F.R.D. at 68.

Plaintiff claims that the production of Hicks’ personnel file

after Hicks’ deposition and the night before Sahil’s 30(b)(6)

deposition prejudiced plaintiff in that: (1) counsel was unable to

use this document to prepare for Sahil’s 30(b)(6) deposition; and

(2) counsel was unable to question Hicks about the document during

her deposition, thereby causing plaintiff to incur significant



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costs and attorney fees in seeking permission to take, and

eventually conducting, the supplemental depositions of Sahil’s

30(b)(6) designee and defendant Hicks. Defendant Sahil counters:

     At the Sahil deposition plaintiff counsel used the
     supplemental compliance [Hicks’ personnel file and
     amended discovery responses], marked it as an exhibit,
     and questioned the witness on it. At no time did
     plaintiff   counsel  raise   concerns   at  the   Sahil
     deposition, or at any of the other depositions taken on
     December 21st or 22nd that the supplemental compliance
     impaired the questioning at either the Sahil deposition
     or the deposition of Hicks.

     Had plaintiff raised the need for further questioning of
     Hicks based on the supplemental disclosure, the
     undersigned counsel would have brought her back for
     further questioning at the ongoing deposition sessions.

Doc. #88 at 3 (sic); see also id. at 6.

     The question of prejudice is a close one here. On balance, if

the only harm were related to the lack of preparation time in

advance of the Sahil 30(b)(6) deposition, the Court might be

inclined to find a lack of prejudice. Plaintiff was compelled to

take a supplemental 30(b)(6) deposition because of the non-

disclosure of Mr. Moody, and therefore, the failure to timely

disclose Hicks’ personnel file did not, on its own, necessitate

that supplemental deposition. However, the prejudice relating to

Hicks’ own deposition is more concerning. By failing to provide

the personnel file to plaintiff’s counsel, but using the

information it contained in the cross-examination of Hicks,




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defendant Sahil placed plaintiff at a distinct disadvantage.

Plaintiff was, as a result, forced to conduct a supplemental

deposition of Hicks. Defendant Sahil argues that, “[h]ad plaintiff

raised the need for further questioning of Hicks based on the

supplemental disclosure, [defendants’ counsel] would have brought

her back for further questioning at the ongoing depositions

sessions.” Doc. #88 at 3. The Court is not persuaded that

plaintiff’s failure to request this supplemental deposition on

December 21, 2015, after completing the deposition of Sahil’s

30(b)(6) witness and plaintiff’s son, on the day before the close

of discovery, places the liability for the need for the

supplemental deposition with plaintiff’s counsel. Defendant

Sahil’s failure to produce Hicks’ personnel file in advance of

Hicks’ deposition, particularly where defendants’ counsel had it

in his possession at that time and posed questions at the

deposition based, it seems, on his review of it, was not harmless.

     Accordingly, the Court finds that an award of sanctions is

also warranted on the basis of defendant Sahil’s untimely

disclosure of defendant Hicks’ personnel file.

     C.   Nature of Appropriate Sanction

     Having found sanctions warranted based on defendant Sahil’s

failure to identify Mr. Moody and to produce Hicks’ personnel file

in a timely manner, the Court next addresses the appropriate



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sanction to be awarded. Plaintiff seeks the imposition of the

following sanctions: striking Sahil’s Answer and Special Defenses;

award of costs and fees incurred in drafting and arguing

plaintiff’s Emergency Motion for Sanctions; award of costs and

fees incurred in preparing and taking the deposition of Mr. Moody

and the supplemental depositions of Sahil’s 30(b)(6) witness and

defendant Hicks; and award of the costs incurred in drafting the

motion now at issue.

     Although Rule 37 permits the Court to strike pleadings in

whole or in part, such a measure is an “extreme sanction[], to be

deployed only in rare situations.” Burke v. ITT Auto., Inc., 139

F.R.D. 24, 31 (W.D.N.Y. 1991) (collecting cases).

     A court considers several factors when deciding whether
     to exercise its broad discretion to order sanctions,
     including “(1) the willfulness of the non-compliant
     party or the reason for noncompliance; (2) the efficacy
     of lesser sanctions; (3) the duration of the period of
     noncompliance[;] and (4) whether the non-compliant party
     had been warned of the consequences of [his] non-
     compliance.” Agiwal v. Mid Island Mortg. Corp., 555 F.3d
     298, 302-03 (2d Cir. 2009).

Hawley v. Mphasis Corp., 302 F.R.D. 37, 46 (S.D.N.Y. 2014). “[A]

court should impose the least harsh sanction that can provide an

adequate remedy.” Id. (citation and internal quotations omitted).

     Here, the Court does not find that striking defendant Sahil’s

Answer and Special Defenses is appropriate. Were the Court to

strike defendant Sahil’s Answer and Special Defenses, it would



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naturally follow that plaintiff would seek the entry of a default

against defendant Sahil. In this Circuit, there is a “well

established preference for resolving cases on their merits[.]”

Fappiano v. MacBeth, No. 3:09CV00043(CSH), 2010 WL 1839946, at *2

(D. Conn. May 7, 2010); see also New York v. Green, 420 F.3d 99,

104 (2d Cir. 2005) (noting the Second Circuit has “expressed a

strong ‘preference for resolving disputes on the merits[]’” versus

entering default judgments (quoting Powerserve Int’l, Inc. v.

Lavi, 239 F.3d 508, 514 (2d Cir. 2001))).

     Additionally, the Court has not found that defendant Sahil’s

non-compliance was willful, but that the record supports instead a

finding of negligence. Also weighing against striking defendant

Sahil’s Answer and Special Defenses is that the duration of non-

compliance lasted only a few months.7 As noted by defendant Sahil,

discovery in this matter has been expedited. This is not a case

where the identity of a key witness was disclosed on the eve of

trial, but rather, before (if barely) the close of discovery and

the filing of dispositive motions. Plaintiff was ultimately able




7 Although, apparently, defendants have yet to amend their initial
disclosures to reflect Mr. Moody as an individual with
discoverable information, this information was at least provided
in substance to plaintiff by December 2015.


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to depose Mr. Moody, and had the benefit of such testimony in

opposing defendants’ motion for summary judgment.

     The law of this Circuit requires that the Court consider the

efficacy of lesser sanctions to effectuate the goals of Rule 37.

See Morales v. Cancun Charlie’s Rest., No. 3:07CV1836(CFD), 2009

WL 3682449, at *6 (D. Conn. Oct. 30, 2009). Here, the factors

considered by the Court above, and the availability of lesser

sanctions, weigh against striking defendant Sahil’s Answer and

Special Defenses. “Courts in this circuit have often awarded

attorneys’ fees to sanction a party who disregards his discovery

obligations.” Tourmaline Partners, LLC v. Monaco, No.

3:13CV00108(WWE), 2014 WL 4810253, at *8 (D. Conn. Sept. 23, 2014)

(collecting cases). The Court finds that the imposition of lesser

sanctions, namely an award of costs and attorney’s fees, will

effectuate the goals of Rule 37.

     The Court declines to award a precise amount at this time;

the Court will instead defer that finding until the disposition of

the pending summary judgment motions. Nevertheless, the Court is

inclined to award plaintiff her costs incurred for counsel’s

travel to Connecticut for the taking of Mr. Moody’s deposition and

Hicks’ supplemental deposition, and a portion of the fees related

to the Emergency Motion for Sanctions and Amended Motion for

Sanctions. See Ritchie-Risk, 280 F.R.D. at 162 (“[T]he Court [has]



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authority to shift certain discovery costs to [defendant], so as

to avoid burdening [plaintiff] with costs [she] would not have

incurred, but for [defendant’s] non-compliance with the discovery

rules.” (alterations added)).

     Finally, embedded within defendant Sahil’s supplemental

memorandum in opposition is a cross-motion for sanctions, which is

less than two pages long. See Doc. #88 at 10. The motion contends

that there were “discovery abuses by the plaintiff in that (1)

there was a failure to attempt to resolve issues prior to the

filing of [the Emergency Motion for Sanctions]; and (2) a

misrepresentation about documentation identified by Mr. Moody[.]”

Id. at 11. As an initial matter, this “motion” is not properly

docketed and fails to comply with the District of Connecticut

Local Civil Rules, because it is not accompanied by a memorandum.

This alone would be sufficient grounds on which to deny the cross-

motion for sanctions. See D. Conn. L. Civ. R. 7(a)(1) (“Any motion

involving disputed issues of law shall be accompanied by a written

memorandum of law and shall indicate in the lower margin of the

motion whether oral argument is requested. Failure to submit a

memorandum may be deemed sufficient cause to deny the motion.”).

Further, by burying this request in a memorandum in opposition,

defendant Sahil denied plaintiff an opportunity to respond

adequately, as the rules governing memoranda in opposition differ



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from those governing reply briefs, both in terms of filing

deadlines and page constraints. Compare D. Conn. L. Civ. R.

7(a)(1)-(2) (“Unless otherwise ordered by the Court, all memoranda

in opposition to any motion shall be filed within twenty-one (21)

days of the filing of the motion ... Except by permission of the

Court, briefs or memoranda shall not exceed forty (40) 8 1/2" by

11" pages of double spaced standard typographical print, exclusive

of pages containing a table of contents, table of statutes, rules

or the like.”) with, D. Conn. L. Civ. R. 7(d) (“Any reply brief

must be filed within fourteen (14) days of the filing of the

responsive brief to which reply is being made, as computed under

Fed. R. Civ. P. 6. A reply brief may not exceed 10 pages[.]”). In

any event, the motion fails on its own merits. Defendant Sahil’s

motion sets forth no rule or case law pursuant to which it

contends the Court should award sanctions. Accordingly, the Court

DENIES defendant Sahil’s cross-motion for sanctions.

     The Court also notes its particular concern with the

allegations –- and indeed admissions -- that Mr. Patel submitted a

false affidavit concerning defendant Sahil’s document production,

and permitted counsel for Sahil to serve defendants’ initial

disclosures and responses to discovery knowing that they omitted

relevant evidence. See Doc. #95-1 at 11; see also Doc. #95-10,

January 26, 2016, Supplemental R. 30(b)(6) Deposition of Sahil,



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Inc., at 93:7-16; 114:12-117:13; 122:15-126:7; 131:10-136:22. The

Court takes such allegations very seriously. However, because this

is not an explicit basis on which plaintiff seeks the imposition

of sanctions, see Doc. #95-1 at 14, the Court declines to award

sanctions on this basis. Nevertheless, if Mr. Patel testifies at

trial, he may be subject to cross-examination with respect to

these issues. Defendants may also be precluded from relying on, or

otherwise introducing at trial, any documents not properly

produced in discovery. This Court leaves such evidentiary matters

to the sound discretion of the trial judge.

IV.   Conclusion

      Accordingly, for the reasons articulated above, the Court

GRANTS, in part, and DENIES, in part, plaintiff’s Amended Motion

for Sanctions. [Doc. #95].

      This is not a Recommended Ruling. This is an order regarding

discovery which is reviewable pursuant to the “clearly erroneous”

statutory standard of review. See 28 U.S.C. §636(b)(1)(A); Fed. R.

Civ. P. 72(a); and D. Conn. L. Civ. R. 72.2. As such, it is an

order of the Court unless reversed or modified by the District

Judge upon motion timely made.8




8 Because the Court is not ordering a dispositive sanction, this is
not a recommended ruling, and is subject to review under the
clearly erroneous standard. See, e.g., Thomas E. Hoar, Inc. v.


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     SO ORDERED at New Haven, Connecticut this 21st day of

September 2016.

                                          /s/
                                   HON. SARAH A. L. MERRIAM
                                   UNITED STATES MAGISTRATE JUDGE




Sara Lee Corp., 900 F.2d 522, 525 (2d Cir. 1990) (“Matters
concerning discovery generally are considered ‘nondispositive’ of
the litigation.” (citation omitted)); Weeks Stevedoring Co. v.
Raymond Int’l Builders, Inc., 174 F.R.D. 301, 303–04 (S.D.N.Y.
1997) (“[T]he imposition of sanctions is reviewable under the
‘clearly erroneous or contrary to law’ standard unless the
sanction itself can be considered dispositive of a claim.”
(collecting cases)); Phinney v. Wentworth Douglas Hosp., 199 F.3d
1, 5–6 (1st Cir. 1999) (stating that a magistrate judge’s
imposition of discovery sanctions should be considered dispositive
only where such sanctions “fully dispose[] of a claim or defense”
and thus fall within the “same genre as the enumerated motions” of
§636(b)(1)(A)).


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